 MINUTE ENTRY
 VAN MEERVELD, M.J
 APRIL 13,2022

                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                            CRIMINAL

 VERSUS                                                              NO.20-r34

 ELDRIDGE JOHNSON                                                    SECTION: M



                                         CRIMINAL ARRAIGNMENT

APPEARANCES:           X   DEFENDANT
                       X   COUNSELFORDEFENDANT           CJA: WILLIAM DOYLE - BY VIDEO
                       I-essrsrANT   u.s. ATToRNEY       CHANDRA MENON. BY VIDEO
                           INTERPRETER                                            SWORN
                                (TIME:                Mto             M)
poenENoANT coNSENTED To AppEAR By vrDEo
X / READING OF THE SUPERSEDING BILL OF INFORMATION

lt/   DEFENDANT ADVISED OF THE MAXIMUM PENALTY

Iil   DEFENDANT PLEADS NOT GUILTY TO ALL COUNTS

lt/SPECIAL PLEADINGS SHALL BE FILED NO LATER THAN SEVEN DAYS PRIOR TO THE FINAL
PRETRIAL CONFERENCE UNLESS OTHERWISE ORDERED BY THE DISTRICT JUDGE.

      GOVERNMENT ADVISED OF ITS OBLIGATIONS TO PRODUCE ALL EXCULPATORY EVIDENCE TO
-/
THE DEFENDANT PURSUANT    TO BRADY V, MARYLAND AND ITS PROGENY AND ORDERED TO DO SO
TIMELY.

_/ DEFENDANT REMANDED          TO THE CUSTODY OF THE U.S. MARSHAL

X, oerr*pANT       RELEASED oN oRrcrNAL BoND

_/ BAIL   SET AT

      DEFENDANT RELEASED ON NEW BOND
-/
t, orHER: DAitr,tA il-a ti/;r+ ,*t o*c"U,
NOTICE:    l!/   PRE-TRIAL CONFERENCE:

BEFORE UNITED STATES DISTRICT JUDGE BARRY W. ASHE

-l!   TNAL: AUGUST 29.2022 AT 9:00 A.M.

BEFORE UNITED STATES DISTRICT JUDGE BARRY W. ASHE

 MJSTAR:00:
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